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                                                                                                     E-FILED
                                                               Wednesday, 21 October, 2020 03:52:23 PM
                                                                           Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )              Case No. 17-10013
                                             )
PRESTON ALEXANDER,                           )
                                             )
               Defendant.                    )

                                   ORDER AND OPINION

       This matter is now before the Court on Defendant Alexander’s Motions for Compassionate

Release (Docs. 27, 30) and the Government’s Response (D. 33). For the reasons set forth below,

Defendant’s Motions are DENIED.

                                         BACKGROUND

       On June 23, 2017, Defendant pleaded guilty to Count Two of a two-count indictment

pursuant to a written Plea Agreement. (Minute Entry 6/23/2017; D. 19). Count Two charged

Defendant with Possession of a Firearm in Furtherance of a Drug Trafficking Crime in violation

of 18 U.S.C. § 924(c). (D. 1).

       On October 31, 2017, the Court sentenced Defendant to 60 months imprisonment and 5

years of supervised release. (Minute Entry 10/31/2017; D. 23). Defendant is currently incarcerated

at FCI Forrest City Low in Forrest City, Arkansas. (D. 30 at 2). His scheduled release date is

February 20, 2022. Id. at 1.

       On August 24, 2020, Defendant filed a pro se Motion for Compassionate Release. (D. 27).

The Court appointed the Federal Public Defender’s Office to represent him. (Text Order

8/26/2020). On September 28, 2020, an Amended Motion for Compassionate Release was filed on



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his behalf. (D. 30). On September 30, 2020, the Government filed its Response in opposition to

compassionate release. (D. 33). This Order follows.

                                        LEGAL STANDARD

       Under 18 U.S.C. § 3582(c)(1)(A), a court may, in certain circumstances, grant a

defendant’s motion to reduce his or her term of imprisonment. Before filing a motion for

compassionate release, a defendant is required to first request that the Bureau of Prisons (BOP)

file a motion on his behalf. 18 U.S.C. § 3582(c)(1)(A). A court may grant a motion only if it was

filed “after the defendant has fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf” or after 30 days have passed “from

the receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” Id.

       A court may reduce the defendant’s term of imprisonment “after considering the factors

set forth in [18 U.S.C. § 3553(a)]” if the court finds that (i) “extraordinary and compelling reasons

warrant such a reduction” and (ii) “such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” § 3582(c)(1)(A)(i). The policy statements provides that a

court may reduce the term of imprisonment after considering the § 3553(a) factors if the Court

finds that (i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is

not a danger to the safety of any other person or to the community, as provided in 18 U.S.C. §

3142(g);” and (iii) “the reduction is consistent with the policy statement.” USSG § 1B1.13. The

policy statement includes an application note that specifies the types of medical conditions that

qualify as “extraordinary and compelling reasons.”

       If an inmate has a chronic medical condition that has been identified by the CDC as

elevating the inmate’s risk of becoming seriously ill from COVID-19, that condition may satisfy

the standard of “extraordinary and compelling reasons.” A chronic condition (i.e., one “from which



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[the defendant] is not expected to recover”) reasonably may be found to be “serious” and to

“substantially diminish[] the ability of the defendant to provide self-care within the environment

of a correctional facility,” even if that condition would not have constituted an “extraordinary and

compelling reason” absent the risk of COVID-19. USSG § 1B1.13, cmt. n.1(A)(ii)(1).

        “The mere presence of COVID-19 in a particular prison cannot justify compassionate

release—if it could, every inmate in that prison could obtain release.” United States v. Melgarejo,

2020 WL 2395982, at *5 (C.D. Ill. May 12, 2020). Rather, “a prisoner [may] satisfy the

extraordinary and compelling reasons requirement by showing that his particular institution is

facing a serious outbreak of COVID-19 infections, the institution is unable to successfully contain

the outbreak, and his health condition places him at significant risk of complications should he

contract the virus.” Id. at 5–6.

                                           DISCUSSION

    A. Exhaustion of BOP Administrative Remedies

        Defendant filed a request for compassionate release with the warden on April 7, 2020. (D.

33-1). The warden denied his request on April 30, 2020. (D. 33-2). Therefore, he exhausted his

BOP administrative remedies under 18 U.S.C. § 3582(c)(1)(A) before filing a Motion for

Compassionate Release.

    B. Extraordinary and Compelling Reasons Requirement

        Defendant concedes he does not have any medical conditions recognized by the CDC as

elevating his risk for severe illness from COVID-19. (D. 30). See Centers for Disease Control and

Prevention,     People      with    Certain     Medical      Conditions,     Oct.     21,     2020,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-



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ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html. He argues that the COVID-19

pandemic alone entitles him to compassionate release. Id. at 3. Approximately 640 inmates at FCI

Forrest City Low contracted COVID-19 and have recovered. Federal Bureau of Prisons, COVID-

19 Coronavirus, Oct. 21, 2020, https://www.bop.gov/coronavirus. Currently, only two inmates are

positive; no staff members are positive; and there have been no deaths. Id.

       The Government argues that despite the number of positive cases, COVID-19 alone does

not provide a basis for granting compassionate release. (D. 33 at 12). The Court agrees. If the mere

presence of COVID-19 justified compassionate release, every inmate could be released. See, e.g.

United States v. Melgarejo, 2020 WL 2395982, at *5 (C.D. Ill. May 12, 2020); see also United

States v. Riley, 2020 WL 1819838, at *7 (W.D. Wash. Apr. 10, 2020) (the “extraordinary and

compelling” circumstances warranting release under Section 3582(c)(1) are not satisfied by “the

mere elevated risk of contracting a pandemic virus in prison, even if such a higher risk exists.”);

United States v. Wright, 2020 WL 1976828, at *5 (W.D. La. Apr. 24, 2020) (“The Court stresses

that the rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

sufficient grounds to justify a finding of extraordinary and compelling circumstances. Rather,

those circumstances are applicable to all inmates who are currently imprisoned and hence are not

unique to any one person. The Court cannot release every prisoner at risk of contracting COVID-

19 because the Court would then be obligated to release every prisoner.”) The COVID-19

pandemic alone does not create extraordinary and compelling circumstances warranting

Defendant’s release. Therefore, his Motions for Compassionate Release are DENIED.

   C. Applicable 18 U.S.C. § 3553(a) Factors and Policy Statements

       Under the applicable policy statement, this Court must deny a sentence reduction unless it

determines the defendant “is not a danger to the safety of any other person or to the community.”



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USSG § 1B1.13(2). Additionally, this Court must consider the § 3553(a) factors as part of its

analysis. See 18 U.S.C. § 3582(c)(1)(A).

       Defendant argues he is not a danger to the community because he had only one minor

violation in prison; this was his first federal conviction; he earned his GED and a certificate in

diesel technology from a local community college; and he completed a drug abuse education class.

(D. 30 at 8). The Government argues that the § 3553(a) factors strongly disfavor a reduction

because this case involved extremely dangerous conduct. (D. 33 at 14). Defendant distributed

marijuana and had an assault rifle to protect his drug business. Id. He possessed the assault rifle

during a controlled purchase of marijuana on October 26, 2016. Id. He was arrested following two

shootings at his residence. Id. (D. 21 at 3-4). He told police that a robbery of drugs started a feud

that led to the shooting at his home located in a residential area. Id.

       The Court commends Defendant for his good conduct in prison but, based on the

seriousness of the offense and the fact that he has 16 months remaining on his 60-month sentence,

the Court finds that a sentence reduction is unwarranted.

                                            CONCLUSION

       Defendant’s Motions for Compassionate Release [27], [30] are DENIED.



       ENTERED this 21st day of October, 2020.


                                                       s/ Michael M. Mihm
                                                       Michael M. Mihm
                                                       United States District Judge




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